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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

DANIELLE THREADFORD and
WILLIAM HOLMES, on behalf of the
McKinney Communications
Corporation Employee Stock
Ownership Plan, and on behalf of a
class of all other persons similarly
situated,                                      Case No.: 2:20-CV-00750-RDP

                    Plaintiffs,

v.

HORIZON TRUST AND
INVESTMENT MANAGEMENT,
N.A., RODDY McKINNEY and
JANICE McKINNEY,

                    Defendants.


     CERTIFICATION OF COMPLIANCE WITH COURT’S ORDER TO
                     APPEAR PRO HAC VICE

      Pursuant to the Local Rules and Recent Court Order (Dkt. 110), Adam

Carlisle certifies that he has read and understands (a) the Local Rules for the

United States District Court for the Northern District of Alabama, (b) the Alabama

State Bar Code of Professional Courtesy, (c) the Alabama State Bar Lawyers’

Creed, and (d) the CM/ECF requirements for the United States District Court for

the Northern District of Alabama.
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Dated this 4th day of January, 2022.

                                       Respectfully submitted,



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                                       McKinney and Janice McKinney
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                         CERTIFICATE OF SERVICE

      I hereby certify that on this the 4th day of January, 2022, a true and correct
copy of the foregoing has been served via the Court’s CM/ECF filing system, as
follows:

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                                       s/Adam R. Carlisle


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